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DEFENDANT: Michelle Medina

YEAR OF BIRTH:       1966

ADDRESS:       23332 Weld County Road 4 Hudson, CO 80642 (not certain if current)

COMPLAINT FILED?              YES       X     NO

       IF YES, PROVIDE MAGISTRATE CASE NUMBER:

HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                           YES        X     NO

OFFENSES: 26 U.S.C. Sec. 7201 (Evasion of Assessment of Tax)(1 count)

LOCATION OF OFFENSE
(County and State): Arapahoe, Colorado

PENALTY:       maximum 5 years, $250,000 fine/ $100 special assessment

AGENT/DEPUTY: Special Agent Mike Garvey, Internal Revenue Service Criminal
Investigation

AUTHORIZED BY: Kathleen M. Barry and Benjamin J. Weir, Trial Attorneys, Tax
Division, United States Department of Justice

ESTIMATED TIME OF TRIAL:

  X    five days or less

       over five days

       other

THE GOVERNMENT

       Will seek detention in this case based on 18 U.S.C. § 3142(f)(1).

   X   Will not seek detention.

The statutory presumption of detention [is / is not] applicable to this defendant.


OCDETF case: _____ Yes            __X___ No
